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                                              [Dkt. Nos. 70, 75, 80, 88]


                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE


 D.N.,

 Plaintiff,                               Civil No. 18-11932(RMB/JS)

              v.                                       ORDER

 STOCKTON UNIVERSITY, DANIEL
 NOVAK, PI KAPPA PHI, JOHN DOES
 (1-20), A-Z OWNERS CORPORATIONS
 (1-20),

 Defendants.



      Based on representations that the parties have agreed to

settle all of the related “Stockton Cases,” including the above-

captioned matter, all outstanding motions in this case are

dismissed as moot, pending the consummation of a settlement

agreement and the filing a stipulation of voluntary dismissal.

      ACCORDINGLY, IT IS on this 6th day of February 2020, hereby:

      ORDERED that all outstanding motions in this case [Dkt. Nos.

70, 75, 80, 88] are DISMISSED as moot.


                                         s/Renée Marie Bumb
                                         RENÉE MARIE BUMB
                                         UNITED STATES DISTRICT JUDGE
